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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

In re:                                                §       Chapter 11
                                                      §
4 WEST HOLDINGS, INC., et al.,                        §       Case No. 18-30777 (HDH)
                                                      §
         Debtors.                                     §       Jointly Administered
                                                      §

                             NOTICE OF APPEARANCE AND
                           DEMAND FOR NOTICES AND PAPERS

         PLEASE TAKE NOTICE that Sterling National Bank, gives notice of appearance by the

undersigned counsel appearing on its behalf and requests notices of all proceedings, hearings and

papers served in this case be delivered to and served upon the parties below as follows:

                Edward L. Ripley                      Arthur J. Steinberg
                King & Spalding LLP                   (Pro Hac Vice Motion Pending)
                1100 Louisiana, Suite 4000            Scott Davidson
                Houston, Texas 77002-5213             (Pro Hac Vice Motion Pending)
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         This request includes, but is not limited to, notices of any orders, motions, applications,

motions, complaints, pleadings, or any other document brought before this Court, whether formal

or informal, written or oral, transmitted or delivered by mail, telephone, facsimile or otherwise,



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in this case. The Notice of Appearance shall not constitute a submission by Sterling National

Bank to the jurisdiction of the Bankruptcy Court.

        Respectfully submitted this 7th day of March 2018.

                                     KING & SPALDING, LLP

                                         By:_/s/ Edward L. Ripley____________
                                            Edward L. Ripley
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                                            ATTORNEYS FOR STERLING NATIONAL
                                            BANK




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                                 CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing Notice of Appearance and Request

for Notice was served upon the parties eligible to receive service by the Clerk’s Office ECF

facilities, on this 7th day of March 2018.



                                             /s/ Edward L. Ripley______
                                                Edward L. Ripley




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